     Case: 5:18-cr-00084-KKC Doc #: 3 Filed: 07/12/18 Page: 1 of 1 - Page ID#: 27

                                                                  Eastern District of Kentucky
                                                                        FILED
                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY                     JUL 12 2018
                             CENTRAL DIVISION                            AT COVINGTON
                                                                       ROBERT R. CARR
                                LEXINGTON                          CLERK U.S. DISTRICT COURT


CRIMINAL ACTION NO.           I<6 ,.--i j   -1( K_G
UNITED STATES OF AMERICA                                                   PLAINTIFF


v.              ORDER FOR ISSUANCE OF ARREST WARRANT


CLARENCE MICHEL, JR. and                                               DEFENDANTS
WARREN GRIFFIN, II
                                         * * * * *
       The Court ORDERS that the Motion of the United States for issuance of an arrest

warrant is GRANTED, and an arrest warrant is ISSUED for the Defendant, CLARENCE

MICHEL, JR..


       On this 12th day of July, 2018.




                                               ~~~0~'\
                                               UNITED STATESSTRATE JUDGE



Copies:       United States Marshal
              United States Probation
              Dmitriy Slavin, Assistant United States Attorney
